     Case: 1:12-cv-09343 Document #: 22 Filed: 03/20/13 Page 1 of 2 PageID #:81




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NOTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GREAT NORTHERN INSURANCE            )
COMPANY a/s/o GIDEON SEARLE and     )
NANCY S. SEARLE,                    )
           Plaintiff,               )
                                    )
      v.                            )              Case No. 2012 CV 9343
                                    )
CELLAR ADVISORS, LLC,               )              Judge:        James B. Zagel
            Defendant.              )              Mag. Judge:   Arlander Keys
____________________________________)
                                    )
CELLAR ADVISORS, LLC,               )
            Third Party Plaintiff,  )
                                    )
      v.                            )
                                    )
CCP MIDWAY ACQUISITION LLC d/b/a )
SATARIA 3PL n/k/a FLAGSHIP          )
LOGISTICS GROUP,                    )
            Third Party Defendant.  )

       To:    Paul R Bartolacci                    Marisa L. Saber
              Kevin John Hughes                    Cozen O’Connor
              Cozen O'Connor                       333 West Wacker Drive
              1900 Market Street                   Suite 1900
              Philadelphia, PA 19103               Chicago, Illinois 60606

              Jon Yambert
              Joseph R. Vallort
              Chilton Yambert & Porter LLP
              150 South Wacker Drive
              Suite 2400
              Chicago, IL 60606

                                   NOTICE OF MOTION
       Please take notice that on March 26, 2013 at 9:30 a.m., we shall appear before the
Honorable Judge James B. Zagel in Courtroom No. 2503 of the Dirksen Federal Building, 219 S.
Dearborn, Chicago, Illinois and present the attached Motion to Dismiss pursuant to Fed. R. Civ.
P. 12(b)(6).




                                              1
     Case: 1:12-cv-09343 Document #: 22 Filed: 03/20/13 Page 2 of 2 PageID #:82




SULLIVAN HINCKS & CONWAY
120 W. 22nd Street, Suite 100
Oak Brook, Illinois 60523
(630) 573-5021
mattbarrette@shlawfirm.com

                                      PROOF OF SERVICE
        I, Matthew P. Barrette, certify that I served this Notice and the above described document
on the individual(s) identified below on March 20, 2013, by filing same using the United States
District Court for the Northern District of Illinois’ CM/ECF system which will send a copy of the
said documents to said individual(s) by electronic mail.

                                                    /s/ Matthew P. Barrette             .




                                                2
